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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

NICHOLAS RYAN DE PALO

      VS                                                CASE NO. 4:11cv629-RH/CAS

TALLAHASSEE LAND MANAGEMENT,
INC., etc., et al.,

                                     JUDGMENT

      “The plaintiff Nicholas Ryan De Palo’s claims against the defendants Villas

Development of Florida, Inc.; A.W. Hirshberg; Shelfer-Hirshberg Partnership; and

Shelfer-Hirshberg Joint Venture are dismissed with prejudice.”



                                        JESSICA J. LYUBLANOVITS
                                        CLERK OF COURT


May 17, 2012                            s/David L. Thomas
DATE                                    Deputy Clerk: David Thomas
